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MICHAEL R. HAHN, ESQUIRE (ATTORNEY ID.: 024242007)
SIMEONE & RAYNOR, LLC
Harvard Law Building
1522 Route 38
Cherry Hill, New Jersey 08002
(856) 663-6700 – Telephone
(856) 663-6701 – Facsimile
Email: mhahn@srnjlawfirm.com
Attorneys for Plaintiff, The Enclave Condominium Association

                  IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY (CAMDEN)

THE ENCLAVE CONDOMINIUM                   :   Case Number 1:21-cv-19097-NLH-SAK
ASSOCIATION, INC.                         :
                                          :
                        Plaintiff,        :
                                          :
                   v.                     :
                                          :
ELITE RESTORATION, INC.,                  :
CHARLES CULBERTSON, III,                  :
STRUCTURAL DESIGN ASSOCIATES,             :
INC. ANDREW SCHEERER and JOHN             :
DOE(S) 1-5 JOHN DOE(S) 6-10 and           :
XYZ CORP(S). 1-10                         :
                                          :
                        Defendants.       :



            AFFIDAVIT OF MERIT PURSUANT TO N.J.S.A. 2A:53A-27




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       1.     I, Richard D. Roberts, am a structural engineer licensed in the State of New

Jersey and have over 37 years of experience as a structural engineer. Projects I have

worked on include high-rise building structure design, parking structure design, deep

foundation design, and evaluation and modification of existing structures.

       2.     As a licensed Professional Engineer in the State of New Jersey, I am familiar

with the policies, practices and procedures that engineers in the State of New Jersey

employ when drafting specifications for major construction projects and managing the

contract/project.

       3.     I have had the opportunity to review the following: (a) the Complaint filed

in the Superior Court of New Jersey Law Division, Civil Part, Atlantic County, under

docket number ATL-L-1903-21; (b) the request for arbitration filed by Elite Restoration

Inc.; (c) the form AIA contract including the plans and specifications drafted by

Defendant Andrew Scheerer and SDA; as well as (d) the proposed change orders and

supporting documentation.

       4.     I have also had the opportunity to make a visual inspection of the Enclave

Condominium Building and the subject deck surfaces and weep holes.

       5.     I believe that there is a reasonable probability that the care, skill and/or

knowledge exercised by the Defendants, Andrew Scheerer and Structural Design

Associates, Inc., fell outside the acceptable professional or occupational standards for

engineers licensed to practice in the State of New Jersey.



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